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                            UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF CALIFORNIA
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      JILL GREENBERG, INDIVIDUALLY AND           )    Case No. 20-cv-02125-LAB-DEB
11
      ON BEHALF OF MINOR V.G.,                   )   ORDER ADOPTING REPORT AND
12                                               )   RECOMMENDATION AND GRANTING
                          Plaintiff,             )
13                                                   PETITION TO APPROVE MINOR’S
                                                 )   SETTLEMENT
      v.
14                                               )
      PUPPY DOGS AND ICE CREAM, INC.,            )
15
      and DOES 1 – 20,                           )
16                                               )
                              Defendants.        )
17

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19         The parties filed a joint motion to approve minor Plaintiff’s settlement (Dkt. No.
20   13). The matter was referred to Magistrate Judge Daniel Butcher, who issued a report
21   and recommendation (“R&R”), finding the compromise proper under controlling
22   precedent. No objections to the R&R were filed. The Court has reviewed it, finds it to be
23   correct, and ADOPTS it. The Parties’ Joint Petition to Approve Minor’s Settlement
24   (Dkt. No. 10) is GRANTED.
25         Because the compromise settles all claims, it appears no more issues remain to be
26   litigated. If other matters remain to be litigated, the parties should jointly file a notice
27   identifying them, no later than June 1, 2021. If no notice is filed, the Court will dismiss
28

      ORDER                                                CASE NO. 20-cv-02125-LAB-DEB
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 1   the action. If the parties agree the case can be dismissed, they should file a joint motion
 2   to dismiss that complies with the Court’s standing order in civil cases, ¶ 2(a).
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     Dated: May 24, 2021                             ________________________________
 4                                                   Honorable Larry Alan Burns,
                                                     United States District Judge
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     ORDER                                                   CASE NO. 20-cv-02125-LAB-DEB
